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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: GOOGLE DIGITAL ADVERTISING
ANTITRUST LITIGATION                                                                             MDL No. 3010



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −2)



On August 10, 2021, the Panel transferred 18 civil action(s) to the United States District Court for the
Southern District of New York for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See _F.Supp.3d_ (J.P.M.L. 2021). Since that time, 1 additional action(s) have been transferred to the
Southern District of New York. With the consent of that court, all such actions have been assigned to the
Honorable P. Kevin Castel.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Southern District of New York and assigned to Judge Castel.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Southern District of New
York for the reasons stated in the order of August 10, 2021, and, with the consent of that court, assigned to
the Honorable P. Kevin Castel.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Southern District of New York. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:




                                                           John W. Nichols
                                                           Clerk of the Panel
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IN RE: GOOGLE DIGITAL ADVERTISING
ANTITRUST LITIGATION                                                         MDL No. 3010



                     SCHEDULE CTO−2 − TAG−ALONG ACTIONS



  DIST       DIV.      C.A.NO.     CASE CAPTION


WASHINGTON WESTERN

 WAW          2       21−01247     Robinson Communications Inc v. Google LLC et al
